                                         UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF CALIFORNIA

                                                          Minute Order
Hearing Information:
                                                                                                       0.00
                     Debtor:     VANESSA COCOVA
               Case Number:      18-02805-MM13                     Chapter: 13
      Date / Time / Room:        TUESDAY, NOVEMBER 20, 2018 02:00 PM DEPARTMENT 1
       Bankruptcy Judge:         MARGARET M. MANN
        Courtroom Clerk:         LISA CRUZ
          Reporter / ECR:        JENNIFER GIBSON

Matter:
              MOTION TO DISMISS CASE FILED BY TRUSTEE



Appearances:
        THOMAS H. BILLINGSLEA, TRUSTEE




Disposition:                                                                            1.00

        Granted. Order to be prepared and submitted by Mr. Billingslea.




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